INSD Change of Attorney Information (Rev. 2/16)
          Case 1:17-cv-02673-JPH-TAB Document 54 Filed 10/04/19 Page 1 of 1 PageID #: 1079

                                                  UNITED STATES DISTRICT COURT
                                                              Southern District of Indiana


                                                      NOTICE OF CHANGE OF
                                                     ATTORNEY INFORMATION

     TO: THE CLERK OF THE COURT AND ALL OTHER PARTIES

                      I have no pending cases in the District Court for the Southern District of Indiana.

               ✔      I have pending case(s) in the District Court for the Southern District of Indiana.

                                                                          )
                                                                               1:17-cv-02673-JPH-TAB
                                                                          )
                                                                               1:17-cv-02897-TWP-MPB
                                                                          )
                                                                               1:19-cv-01146-SEB-MJD
                                  Pending Case No(s).1                    )    2:17-cv-00304-JPH-MJD
                                                                          )    3:19-cv-00026-RLY-MPB
                                                                          )
                                                                          )


     Pursuant to Local Rule 5-3, the undersigned counsel notifies the Clerk=s Office of the following changes:

                                                   Previous Information:                                             Current Information:

                        Name: Trent A. McCain                                                        Trent A. McCain

                Law Firm, McCain Law Offices, P.C.                                                   McCain Law Offices, P.C.
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            and/or Agency:

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                   Facsimile: 219-884-0692                                                            219-884-0692



                    10/4/2019
              Date: ________________                                                                Trent A. McCain
                                                                                                 s/ ______________________________


     1
         Identify each case in which you have filed a Notice of Appearance and the case is still pending. This Notice must be filed in each pending case.
